               Case
    ·Ao 199A (Rev.      3:18-mj-02080-BGS-CAB
                   01/04/2018)                                      Document
                               Order Setting Conditions of Release (Modified)   22 Filed 05/17/18 PageID.118 Page 1 of 2

                                        UNITED STATES DISTRICT cou T                                           Fl LE
                                                                      for the
                                                           Southern District of California
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                         United States of America                                )                   SOUTl2E
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                                                                                                          \/ lft Vl.-CA.-"IAll_)~, v
                                                                                                                                     CALIFORNIA
                                                                                                                                         DEPUTY
                                    v.                                           )
                                                                                 )           Case No. 18MJ2080-BGS-CAB
                           Alex Irias-Ladines (1)                                )
                                                                                 )
                                    Defendant
                                         (MODIFIED) PRETRIAL RELEASE ORDER
    IT IS ORDERED that the defendant's release is subject to these conditions:
                                                               Mandatory Conditions
    (1)     The defendant must not violate federal, state, or local law during the period of release.
    (2)     The defendant must cooperate in the collection of a DNA sample as authorized by 42 U.S.C. § 14135a.
                                                          Stapdard Conditions
                                             (Each Standard Condition applies, unless stricken.)
    (3)    The defendant must appear in court as ordered and surrender as directed to serve any sentence.
    (4)    The defendant must not possess a firearm, destructive device, or other dangerous weapon.
    (5)    The defendant must not use or possess a narcotic drug or other controlled substance without a lawful medical
           prescription. The defendant must not use or possess marijuana under any circumstances.
    (~-    The defendant must report to the U.S. Pretria-1 Serviees Offiee (telephone (819) 557 5738) on the day of the

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           initial eourt appearan:ee or ·.vithin 2 4 hours of the defendant's release from eustody, vAl-iehever is later.
           Throughout this ease, the defendant must report as direeted by the Pretria-1 Sef'fiees Offiee and follov1 a-ll
           direetions of the Pretria-1 Serviees Offiee.
           The defendant must advise the Court or the Pretrial Serviees Offiee in writing of: (1) the defendant's eurrent
           residenee address and phone num0er, •.vhen first reporting to Pretria-1 Sef'fiees; and (2) any new eontaet
           information, 0efore making any ehange of residenee or phone num0er.
    (8)    The defendant must read this Pretrial Release Order and the "Advice of Penalties and Sanctions" form, or
           have them read to the defendant in the defendant's native language. The defendant must acknowledge the
           defendant's understanding of all the pretrial release conditions and the penalties and sanctions for any
           violations, by signing the "Advice of Penalties and Sanctions" form.
    (9)    Restrict travel to: ~San Diego County D Imperial County D State of California
                                D CDCA (L.A., Orange, Riverside, San Bernardino, S.L.O., Santa Barbara, Ventura)
                                ~ Do not enter Mexico          D Other Travel Restriction:
                                                                                                  ------------
                                                                Addition a I Copditjops
    (10) D (a) The defendant is released on personal recognizance.
         ~ (b) The defendant must execute an appearance bond in the amount of$ 5 000.00                        that is:
            ~ Unsecured.
            D Secured, as set forth below. The Court finds that an unsecured bond will not reasonably assure the
               defendant's appearance as required and/or will endanger the safety of another person or the community.
               Security: DThe co-signatures of_ _financially responsible (and related) adults or_ _ _ _ __
                         D A cash deposit with the Court of$ _ _ _ _ _ _ __
                         D A trust deed to the United States on real property approved by a federal judge.
                         D A cash bond and/or a bail bond by an approved, solvent corporate surety. A corporate bail
                            bond must cover all conditions of release, not just appearances.
                         ~ Other: Defendant's signature Only
               Hearing: D Surety examination D Nebbia hearing (bail source hearing)
    (11) D 18 U.S.C. § 3142(d) hold until               ; if no detainer is lodged by then, these conditions take effect.
            Case
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 (12) The defendant must:
      O (a) actively seek or continue full-time employment, or schooling, or a combination of both.
      0 (b) reside with         (0) a family member, surety, or                                               , or
                                (0) at a residence approved by the Pretrial Services Office.
      0 (c) surrender any valid passport to the Pretrial Services Office and not obtain a passport or other
              international travel document.
      0 (d) clear all warrants/FTAs and pay all fines within 90 days of release or as directed by the Pretrial
              Services Office.
      0 (e) submit to psychological/psychiatric treatment at Pretrial Services' discretion.
      0 (f) submit to testing for drugs/alcohol if required by the Pretrial Services Office, no more
              than_ _times per month. Testing may include urine testing, the wearing of a sweat patch, a
              remote alcohol testing system, and/or any form of prohibited substance screening or testing. Pretrial
              Services need not notify the Court of test results attributed to residual elimination.
      0 (g) not use alcohol at all.
      0 (h) not have a blood alcohol content (BAC) of .08% or more.
      0 (i) participate in a program of inpatient or outpatient substance abuse therapy and counseling if
              directed by the Pretrial Services Office or supervising officer.
      OG)     avoid  all contact, directly or indirectly, with any person who is or may be a victim or witness in the
              investigation or prosecution, including: - - - - - - - - - - - - - - - - - - - - -
      0 (k)   participate  in the Location Monitoring Program and comply with its requirements as directed under
              the following component and technology:
               0 (i) Curfew. You are restricted to your residence ( 0) every day from                     to _ _ __
                         or (0) as directed by the pretrial services office or supervising officer.
               0 (ii) Home Detention. You are restricted to your residence at all times except for Pretrial
                         Services-approved absences for: employment; education; religious services; medical,
                         substance abuse, or mental health treatment; attorney visits; court appearances; Court-
                         ordered obligations; or other activities.
               O (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence
                         except for Court-approved absences for medical necessities, court appearances, or other
                         activities.
                  Technology: 0 Global Positioning System (GPS) 0 Radio Frequency 0 Voice Recognition
               O You must pay all or part of the cost of the program based on your ability to pay as determined
                  by the pretrial services officer.
               0 Defense counsel must notify Pretrial Services upon submission of bond paperwork; defendant to
                  be released from custody to Pretrial Services the following business day by 10:00 a.m. and
                  Pretrial Services to transport if needed.
      0 (1) return to custody each                    at           AM/PM after being released at               AM/PM
              for employment, schooling, or the following purposes: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      O(m) maintain residence at a halfway house, community corrections center, or residential facility, as the
              Pretrial Services Office or supervising officer considers necessary.
      0 (n)   remain  in the custody of                                         , who will supervise the defendant and
              notify the Court immediately if the defendant violates any conditions of release.
      O (o) Adam Walsh Act: See attached Addendum for additional conditions.
    ~(p) Other conditions: The defendant shall notify the Court and the U.S. Attorney's Office of any
              request for relief from Immigration custody within 24 hours of such request.

 (13)     0   All conditions previously set will remain the same.



                     Date:          5/17118
                                                                         Hon. Cathy Ann Bencivengo
                                                                         U.S. District Judge
